Appeal No. 6818 was taken in this case in October, 1928. In September, 1929, there was an affirmance by order because of failure to file briefs, which was subsequently vacated upon a showing that the record had not yet been settled. The record was settled September 10, 1930. Thereafter appeal No. 7170 was taken in the same case in November, 1930, upon the same record previously settled. By stipulation appeals Nos. 6818, 7170 were consolidated and the time for serving appellant's brief extended to June, 1931. By subsequent stipulations it has been attempted to extend the time to June 7, 1932. Since that time no further steps have been taken in this court and no brief has been filed in behalf of the appellant.
Both appeals are therefore deemed abandoned, and the judgment and orders attempted to be appealed from are affirmed.
All the Judges concur. *Page 224 